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                   EXHIBIT 9
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                                                                     FTL-00001
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                                                                     FTL-00002
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                                                                     FTL-00003
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                                                                     FTL-00004
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                                                                     FTL-00005
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                                                                     FTL-00006
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Certificate Of Completion
Envelope Id: 1A9A8C8435FB458B8008FEFCA653BDF3                                              Status: Completed
Subject: Signature required for your FTL Loan
Source Envelope:
Document Pages: 13                                Signatures: 5                            Envelope Originator:
Certificate Pages: 5                              Initials: 1                              FTL Finance
AutoNav: Enabled                                                                           820 S. Main Street
EnvelopeId Stamping: Enabled                                                               St. Charles, MO 63301
Time Zone: (UTC-08:00) Pacific Time (US & Canada)                                          funding@ftlfinance.com
                                                                                           IP Address: 208.66.134.72

Record Tracking
Status: Original                                  Holder: FTL Finance                      Location: DocuSign
        10/19/2018 10:00:48 AM                              funding@ftlfinance.com

Signer Events                                     Signature                                Timestamp
Fast AC SWFL                                                                               Sent: 10/19/2018 10:00:49 AM
office@fastairswfl.com                                                                     Viewed: 10/19/2018 10:10:22 AM
Security Level: Email, Account Authentication                                              Signed: 10/19/2018 10:10:43 AM
(None)
                                                  Signature Adoption: Drawn on Device
                                                  Using IP Address: 174.227.11.206
                                                  Signed using mobile
Electronic Record and Signature Disclosure:
   Accepted: 10/19/2018 10:10:22 AM
   ID: 4e65cfca-ebf4-4351-9407-67de4983a292

gary walters                                                                               Sent: 10/19/2018 10:10:44 AM
pop8912@aol.com                                                                            Viewed: 10/19/2018 10:19:18 AM
Security Level: Email, Account Authentication                                              Signed: 10/19/2018 10:20:25 AM
(None), Authentication
                                                  Signature Adoption: Pre-selected Style
                                                  Using IP Address: 71.215.42.213


Authentication Details
ID Check:
    Transaction: 23020941402331
    Result: passed
    Vendor ID: LexisNexis
    Type: iAge
    Recipient Name Provided by: Recipient
    Information Provided for ID Check: Address, SSN9, SSN4, DOB
    Performed: 10/19/2018 10:17:46 AM

ID Check:
    Transaction: 23020941501683
    Result: passed                                  Question Details:
    Vendor ID: LexisNexis                           passed corporate.association.real
    Type: iAuth                                     passed vehicle.association.real
    Recipient Name Provided by: Recipient           passed individual.height.real
    Information Provided for ID Check: Address,
SSN9, SSN4, DOB
    Performed: 10/19/2018 10:18:59 AM
Electronic Record and Signature Disclosure:
   Accepted: 10/19/2018 10:19:18 AM
   ID: 50864311-52c2-4497-a26f-ab81f0dedc2b


In Person Signer Events                           Signature                                Timestamp

Editor Delivery Events                            Status                                   Timestamp



                                                                                                                    FTL-00023
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Agent Delivery Events                Status                    Timestamp

Intermediary Delivery Events         Status                    Timestamp

Certified Delivery Events            Status                    Timestamp

Carbon Copy Events                   Status                    Timestamp

Notary Events                        Signature                 Timestamp

Envelope Summary Events              Status                    Timestamps
Envelope Sent                        Hashed/Encrypted          10/19/2018 10:10:44 AM
Certified Delivered                  Security Checked          10/19/2018 10:19:18 AM
Signing Complete                     Security Checked          10/19/2018 10:20:25 AM
Completed                            Security Checked          10/19/2018 10:20:25 AM

Payment Events                       Status                    Timestamps
Electronic Record and Signature Disclosure




                                                                                    FTL-00024
Electronic Record and Signature Disclosure created on: 1/16/2014 7:01:37 AM
       Case 2:19-cv-00070-JLB-MRM Document 104-9 Filed 12/04/20 Page 10 of 12 PageID 2137
Parties agreed to: Fast AC SWFL, gary walters




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            speed at which we can complete certain steps in transactions with you and delivering services to
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            us. Thus, you can receive all the disclosures and notices electronically or in paper format through
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            described below. Please also see the paragraph immediately above that describes the
            consequences of your electing not to receive delivery of the notices and disclosures




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          other information from you to withdraw consent.. The consequences of your withdrawing
          consent for online documents will be that transactions may take a longer time to process..

   Required hardware and software
   Operating Systems:                               Windows® 2000, Windows® XP, Windows
                                                    Vista®; Mac OS® X
   Browsers:                                        Final release versions of Internet Explorer® 6.0
                                                    or above (Windows only); Mozilla Firefox 2.0
                                                    or above (Windows and Mac); Safari™ 3.0 or
                                                    above (Mac only)
   PDF Reader:                                      Acrobat® or similar software may be required
                                                    to view and print PDF files
   Screen Resolution:                               800 x 600 minimum
   Enabled Security Settings:                       Allow per session cookies

   ** These minimum requirements are subject to change. If these requirements change, you will be
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   browsers are not supported.
   Acknowledging your access and consent to receive materials electronically
   To confirm to us that you can access this information electronically, which will be similar to



                                                                                          FTL-00026
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